OPINION — AG — QUESTION: "ON THE 28TH DAY OF MARCH, 1955, GOVERNOR GARY SIGNED HOUSE BILL NO. 630, CONCERNING SALARIES OF COUNTY ATTORNEYS AND COUNTY JUDGES OF CERTAIN COUNTIES. I WOULD LIKE TO KNOW FIRST, IS THIS LAW EFFECTIVE IMMEDIATELY AND IF SO, IS THE ASSISTANT COUNTY ATTORNEY ELIGIBLE TO DRAW THE HIGHER PAY DURING THE 1955-56 TERM OF OFFICE?" — SEE OPINION CITE: 19 O.S.H. 179.1, 19 O.S.H. 179.7, 19 O.S.H. 179.12, ARTICLE XXIII, SECTION 10 (RICHARD M. HUFF)